Case 1:20-cv-08786-GHW Document 9-7 Filed 10/26/20 Page 1 dba#Q 12/20/2019

K&S
22-19 160 Street
Whitestone, NY 11357

Telephone : 718)767-2808 Fax: 347)438-1053

Ship To: #iTEB 100 BROAD STREET LLC (ESSEN) From: To:
#100 Broad st
NY, NY 10004
212) 943-0100

 

12/15/2019 12/20/2019

 

 

 

 

 

Shipped Amont Payment

12/15 Sunday 0.00 0.00
12/16 Monday 3847.50 0.00
12/17 Tuesday 3276.60 16050. 90
12/18 Wednesday 2790.90 0.00
12/19 Thursday 2777.00 0.00
12/20 Friday 1632.60 0.00

Shipped Total 14324.60 Paid Total 16050. 90

Delivery Charge 0.00 Credit Memo

Credit 0.00 =
meen Date +/- Oty Item Price Amount
Sub-Total (+) 14,324.60 FRR nnn nn nnn nnn == = - = = = = +
Prev.Balance(+) 174,413.10 No credit has been recorded
Payment 16,050.90

Current Balance 172,686.80

 

 

 

 

 

 

 

 

 

 

 

 

 

 

AR Aging Report Current Balance 172,686.80
Ist Week 14,324.60 Received Amount (- )
2nd Week 0.00 This Week Balance
3rd Week & Over 158,362.20 Received By
Paid By

 

 

 

 

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.

All interest, costs, attorney's fees due seller shall be considered sums owing in connection with this transaction uner the PACA trust.
Case 1:20-cv-08786-GHW Document 9-7 Filed 10/26/20 Page 2 @fa80 — 12/13/2019
K&S

22-19 160 Street
Whitestone, NY 11357

 

Telephone : 718)767-2808 Fax: 347)438-1053
Ship To: #1TEB 100 BROAD STREET LLC (ESSEN) From : To:
#100 Broad st .
NY, NY 10004 12/08/2019 12/13/2019

212) 943-0100

 

 

 

 

 

 

Shipped Amont Payment

12/08 Sunday 0.00 0.00
12/09 Monday 3646.50 0.00
12/10 Tuesday 2981.90 0.00
12/11 Wednesday 3224.60 15055...50
12/12 Thursday 2909.00 0.00
12/13. Friday 2567.40 0.00
Shipped Total 15329.40 Paid Total 15055.50

Delivery Charge 0.00 Credit Memo

Credit 0.00 =
PETES ETRE Date +/- Qty Item Price Amount
Sub-Total (+) 15,329.40 2 seen nnn nnn nnn ene n= -----------------
Prev.Balance(+) 174,139.20 No credit has been recorded
Payment 15; 055250

Current Balance 174,413.10

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

AR Aging Report Current Balance 174,413.10
Ist Week 15,329.40 Received Amount (- )
2nd Week OF 90.30 This Week Balance
3rd Week & Over 158,004.40 Received By
Paid By

 

 

 

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
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Case 1:20-cv-08786-GHW Document 9-7 Filed 10/26/20 Page 3 @fa80 2/96/2019

K&S
22-19 160 Street
Whitestone, NY 11357

 

Telephone : 718)767-2808 Fax: 347)438-1053
Ship To: #1TEB 100 BROAD STREET LLC (ESSEN) From: To:
#100 Broad st
NY, NY 10004 12/01/2019 12/06/2019

212) 943-0100

 

 

 

 

 

Shipped Amont Payment
12/01 Sunday 0.00 0.00
12/02 Monday 3644.70 9941.60
12/03 Tuesday 3232410 0.00
12/04 Wednesday 3720.60 0.00
12/05 Thursday 3219.00 0.00
12/06 Friday 2318.40 0.00
Shipped Total 16134.80 Paid Total 9941.60
Delivery Charge 0.00 Credit Memo
Credit 0.00 ===SSS= ao
SSS SS Date +/- Qty Item Price Amount
Sub-Total a | aa
Prev.Balance(+) 167,946.00 12/03 + 1 spina ad+39.3 0.00 0.00
Payment 9,941.60 Credit Total : 0.00

Current Balance 174,139.20

 

 

 

 

 

 

 

 

 

 

 

 

 

 

AR Aging Report Current Balance 174,139.20
Ist Week 16,134.80 Received Amount (- )
2nd Week 0.00 This Week Balance
3rd Week & Over 158,004.40 Received By
Paid By

 

 

 

 

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.

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Case 1:20-cv-08786-GHW Document 9-7 Filed 10/26/20 Page 4 D&tgO 01/17/2020

K&S
22-19 160 Street
Whitestone, NY 11357

 

Telephone : 718)767-2808 Fax: 347)438-1053
Ship To: #1TEB 100 BROAD STREET LLC (ESSEN) From : To:
#100 Broad st
NY, NY 10004 01/12/2020 01/17/2020

212) 943-0100

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Shipped Amont Payment
OLy12 Sunday 0.00 0.00
01/13 Monday 3801.70 0.00
01/14 Tuesday 3760.50 0.00
01/15 Wednesday 3293.00 0.00
01/16 Thursday 4297.20 0.00
01/17 Friday 3693.40 15560.90
Shipped Total 18845.80 Paid Total 15560.90
Delivery Charge 0.00 Credit Memo
redit 0.00 —
sees 55 -- === Date +/- Qty Item Price Amount
Sub-Total (+) 18,845.80 = 9 ----------=----------------- 3 ===
Prev.Balance(+) 170,349.50 01/15 + 1 flower cr-1.3 0.00 0.00
01/17 + 2 sharon cr-26. 0.00 0.00
Payment 15,560.90 een == === -- = - == ---- == === === +--+ +--+
eee Credit Total : 0.00
Current. Balance I73,;6384¢040) 0 mmmnmmr mmo nO ESE
AR Aging Report Current Balance 173,634.40
Ist Week 18,845.80 Received Amount (-)
2nd Week 1,471.30 This Week Balance
3rd Week & Over 153,317.30 Received By
Paid By

 

 

 

 

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All interest, costs, attorney's fees due seller shall be considered sums owing in connection with this transaction uner the PACA trust.
K&S

Case 1:20-cv-08786-GHW Document 9-7 Piler¢ 1.0/8678028PRage 5 ofF8®: 347)438-1053

 

 

 

 

 

 

 

 

INVOICE

ShipTo: # I1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 341231

#100 Broad st

NY, NY 10004 Date 01/17/2020
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 1 33.00 33.00] PORTABELLA MUS M PO2 USA 4 9.50 38.00
STAR RUBY Cc USA 1 28.00 28.00] POTATO IDAHO 90 USA 4 24.00 96.00
POMEGRANATEs 8CHI USA 2 23.00 46.00 | POTATO RED A BOX BOX A USA 1 28.00 28.00
SEEDLESS RED RED USA 1 36.00 36.00 | CARROT LOOSE LOOSE USA 2 25.00 50.00
SHARON SH/R USA 0 0.00 0.00 | PINE GOLDEN GOL USA 5 22.00 110.00
KIWI LOOSE LLOO USA 1 24.00 24.00} BANANA BNA ECU 2 15.50 31.00
WATERMELON SEED USA 1 44.00 44.00] BANANA GREEN GR ECU 2 15.50 31.00
CANTALOUP c USA 1 12.00 12.00] BANANA Y.G Y+G EcU 1 15.50 15.50
HONEY DEW c USA 1 20.00 20.00 | RUSKUS LEAF RU/LF USA 1 10.00 10.00
JUICE ORANGE 100 USA 5 20.00 100.00 | MESCLUN SALAD MESC USA 24 7.50 180.00
SUNKIST ORANGE 56 USA 3 31.00 93.00 | CELERY CHOP Box USA 1 34.00 34.00
STRAWBERRY CAL USA 9 23.00 207.00] EGG EX/LOOSE EXLOO USA 8 22.00 176.00
RASPBERRY A USA 5 26.00 130.00 | MONEY PICK UP $ss 0 0.00 0.00
BLUEBERRY A USA 5 19.00 95.00 | SCALLION KING USA 3 40.00 120.00
BLACKBERRY A USA 2 18.00 36.00
AVOCADO HASS# RIPE MEX 1 42.00 42.00
PAPAYA RED RIPE RIPE MEX 1 34.00 34.00
MANGO RIPE M/RIP MEX 15 6.50 97.50
TOMATO #1 5X6 USA 2 44.00 88.00
TOMATO PLUM c MEX 2 28.00 56.00
TOMATO CHERRY c USA 1 19.00 19.00
TOMATO GRAPE R USA tL 21,00 11.00
LETTUCE . ICEBERG A USA 1 38.00 38.00
ROMAINE CA-A USA 7 20.00 140.00
CAULIFLOWER c USA 2 22.00 44.00
BROCCOLI CROWN CROW USA 2 28.00 56.00
RABE ANDY USA 1 35.00 35.00
ASPARAGUS LG USA 5 29.00 145.00
CELERY Cc USA 1 19.00 19.00
SPINACH BUSH USA 1 24.00 24.00
SPINACH BABY BA/SP USA 16 7.00 112.00
GREEN KALE KALE USA 1 16.00 16.00
FRENCH BEAN FREN USA 1 10.00 10.00
ALFALFA CUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA 2 39.00 78.00 Credit 24.60
RADICCIO.. RD/CO USA 1 14.00 14.00
BABY ARRUGULA BA USA 4 10.00 40.00
CILANTRO c USA 3 18.00 54.00 Total Boxes: 190.0
BEETS 25LB LBAG CAN 1 9.00 9.00 Delivery $ 247.00
PEPPER GREEN GR USA 2 24.00 48.00
PEPPER RED RED USA 2 24.00 48.00 Shipment 3,693.40
YELLOW PEPPER YELL USA 3 17.00 52,.00°| aS eee Se eee eee
JALAPINO JALPN HOL 1 20.00 20.00
CUCUMBER CUM MEX 2 27.00 54.00 Cash Receipt:
SQUASH GREEN GR USA 1 33.00 33).00!| SoS =_-o-S- SSeS eee See
GARLIC JAR JBOX USA 1 42.00 42.00
MUSHROOM WASH 10LB USA 4 17.00 68.00 Signature
MUSH SPECIAL 10SP USA 5 18.00 90.00
Printed on Oct 12, 2020 *x*ekee% Balance : 185,501.90

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural

commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
Case 1:20-cv-08786-GHW Document 9-7 Filed 10/26/20 Page 6R¥tgo 01/10/2020

K&S
22-19 160 Street

Whitestone, NY 11357

Telephone : 718)767-2808 Fax: 347)438-1053

Ship To: #1TEB 100 BROAD STREET LLC (ESSEN) From : To:

#100 Broad st -
NY, Ny 10004 01/05/2020 01/10/2020

212) 943-0100

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Shipped Amont Payment
01/05 Sunday 0.00 0.00
01/06 Monday 4067.30 0.00
01/07 Tuesday 3405.00 0.00
01/08 Wednesday 3579.20 0.00
01/09 Thursday 3466.20 0.00
01/10 Friday 2514.50 12852, 30
Shipped Total 17032.20 Paid Total 12852.30
Delivery Charge 0.00 Credit Memo
Credit 0.00 = a= ses
aoe Date +/- Qty Item Price Amount
Sub-Total (+) 17,032.20 9 weer n nn secan
Prev.Balance(+) 166,169.60 01/08 + 2 sharon cr-2.6 0.00 0.00
Payment 12,852.30 Credit Total 0.00
Current Balance 170,349.50
AR Aging Report Current Balance 170,349.50
Ist Week 17,032.20 Received Amount (- )
2nd Week 0.00 This Week Balance
3rd Week & Over 153,317.30 Received By
Paid By

 

 

 

 

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
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All interest, costs, attorney's fees due seller shall be considered sums owing in connection with this transaction uner the PACA trust.
Case 1:20-cv-08786-GHW Document 9-7 Filed 10/26/20 Page 7 Bétgo 01/03/2020

K&S
22-19 160 Street
Whitestone, NY 11357

Telephone: 718)767-2808 Fax: 347)438-1053

Ship To: #1TEB 100 BROAD STREET LLC (ESSEN) From : To:
#100 Broad st

NY, Ny 10004
212) 943-0100

 

12/29/2019 01/03/2020

 

 

 

 

 

Shipped Amont Payment
12/29 Sunday 0.00 0.00
12/30 Monday 2783.60 0.00
T2/ 31, Tuesday 1635.30 0.00
01/01 Wednesday 0.00 0.00
01/02 Thursday 1889.80 6724.30
01/03 Friday 2748.30 15508.80
Shipped Total 9057.00 Paid Total 222.53. 10
Delivery Charge 0.00 Credit Memo
Credit 0.00
- oo = = Date +/- Oty Item Price Amount
Sub-Total (+) SeOSFEOO tee TSE ee eee
Prev.Balance(+) 179,345.70 01/02 + 1 straw ad+14.3 0.00 0.00
Payment 22 OBE LG Credit Total 0.00

Current Balance 166,169.60

 

 

 

 

 

 

 

 

 

 

 

 

 

 

AR Aging Report Current Balance 166,169.60
Ist Week 9,057.00 Received Amount (-)
2nd Week 0.00 This Week Balance
3rd Week & Over 157,112.60 Received By
Paid By

 

 

 

 

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Case 1:20-cv-08786-GHW Document 9-7 Filed 10/26/20 Page 8 Dht8O 01/24/2020
K&S

22-19 160 Street
Whitestone, NY 11357

Telephone : 718)767-2808 Fax: 347)438-1053

Ship To: #1TEB 100 BROAD STREET LLC (ESSEN) From: To:
#100 Broad st

NY, NY 10004
212) 943-0100

 

01/19/2020 01/24/2020

 

 

 

 

 

Shipped Amont Payment

01/19 Sunday 0.00 0.00
01/20 Monday 0.00 0.00
01/21 Tuesday 2922... 50 0.00
01/22 Wednesday 2927.80 0.00
01/23 Thursday 3782.20 0.00
01/24 Friday 2785.70 0.00

Shipped Total 12418.20 Paid Total 0.00

Delivery Charge 0.00 Credit Memo

Credit 0.00 =e =
seeeneen eee Date +/- Qty Item Price Amount
Sub-Total (+) 12,418.20 009 --------------------------------------------
Prev.Balance(+) 173,634.40 No credit has been recorded
Payment 0.00

Current Balance 186,052.60

 

 

 

 

 

 

 

 

 

 

 

 

 

 

AR Aging Report Current Balance 186,052.60
Ist Week 12,418.20 Received Amount (-)
2nd Week 18,845.80 This Week Balance
3rd Week & Over 154,788.60 Received By
Paid By

 

 

 

 

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
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K&S Case 1:20-cv-08786-GHW Document 9-7 Piet 1072878029R&ge 9 Of A@: 347)438-1053

 

 

 

 

 

 

 

INVOICE
ShipTo: # I1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 341313
#100 Broad st
NY, NY 10004 Date 01/21/2020
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
RED EX FANCY 80 USA 1 34.00 34.00] ONION RED RD-J USA 3 11.00 33..00
GRANNY SMITH 80 USA 1 33.00 33.00] TOFU s USA 1 14.00 14.00
GALA APPLE 80 USA 1 40.00 40.00] PINE GOLDEN GOL USA 1 22.00 22.00
POMEGRANATEs 8CHI USA 2 23.00 46.00] BANANA BNA ECU 1 16.50 16.50
SEEDLESS GREEN GR USA 1 36.00 36.00] PLANTAIN YELLOW Cc ECU 1 27.00 27.00
SEEDLESS RED RED USA 1 36.00 36.00 | CIDER 1/2G USA 1 27.00 27.00
WATERMELON SEED USA 1 44.00 44.00 | RUSKUS LEAF RU/LF USA 1 10.00 10.00
HONEY DEW Cc USA 1 19.00 19.00 |} MESCLUN SALAD MESC USA 4 7.50 30.00
SUNKIST ORANGE 56 USA 2 31.00 62.00 | EGG EX/LOOSE EXLOO USA 7 $22.00 154,00
STRAWBERRY 0 USA 5 30.00 150.00] EGG BROWN/CT BR/CT USA 1 43.00 43.00
RASPBERRY A USA 5 24.00 120.00] SCALLION KING USA 3 38.00 114.00
BLUEBERRY A USA 4 15.00 60.00
BLACKBERRY A USA 2 18.00 36.00
AVOCADO HASS Cc USA 6 41.00 246.00
MANGO RIPE M/RIP MEX 10 6.50 65.00
TOMATO #1 5X6 USA 2 43.00 86.00
TOMATO GRAPE R USA 4 13.00 52.00
TOMATO GRAPE YE USA 1 23.00 23.00
CABBAGE GR GR USA 1 13.00 13.00
CAULIFLOWER c USA 2 29.00 58.00
BROCCOLI CROWN CROW USA 4 26.00 104.00
RABE ANDY USA 1 35.00 35.00
ASPARAGUS LG USA 1 33.00 33.00
SPINACH BUSH USA 1 24.00 24.00
SPINACH BABY BA/SP USA 6 7.00 42.00
GREEN LEAF GR USA 1 32.00 32.00
GREEN COLLARD COALD USA 1 15.00 15.00
GREEN KALE KALE USA 2 16.00 32.00
STRINGBEAN BEAN USA 1 24.00 24.00
ALFALFA CUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA 2 40.00 80.00
RADICCIO.. RD/CO USA 1 14.00 14.00
MINT A USA 1 15.00 15.00
BABA ARRUGULA ce USA 5 14.50 72.50
PARSLEY PLAIN FULL USA 1 23.00 23.00
BEETS 25LB LBAG CAN 2 9.00 18.00
PEPPER GREEN GR USA 1 20.00 20.00
PEPPER RED RED USA 2 27.00 54.00 Total Boxes: 130.0
YELLOW PEPPER YELL USA 2 17.00 34.00 Delivery $ : 169.00
SQUASH GREEN GR USA 1 34.00 34.00
SQUASH YELLOW YEL MEX 1 35.00 35.00 Shipment 7 (23922550
GINGER 10LB 10LB CHN 1 12.00 | eee eee
MUSH SPECIAL 10SP USA 4 18.00 72.00
PORTABELLA MUS M P02 USA 3 9.50 28.50 Cash Receipt:
YAM #1 YAM USA 1 18.00 18.00 | Goss -SSh eS Seas SSeS eee ee Sees
POTATO IDAHO 90 USA 2 24.00 48.00
CARROT LOOSE LOOSE USA 1 25.00 25.00 Signature
ONION SPANISH SPI USA 3 16.00 48.00
Printed on Oct 12, 2020 *#kkkee Balance : 173,634.40

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S Case 1:20-cv-08786-GHW_ Document 9-7 Plier 10/1879028Pfage 10 dP80 347)438-1053

 

 

 

 

 

 

 

INVOICE
ShipTo: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 341355
#100 Broad st
NY, NY 10004 Date 01/22/2020
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 1 $3.00 33.00] PINE GOLDEN GOL USA 4 24.00 96.00
STAR RUBY Cc USA 1 28.00 28.00} BANANA BNA ECU 2 16.50 33.00
POMEGRANATES 8CHI USA 2 23.00 46.00 | RUSKUS LEAF RU/LF USA 1 10.00 10.00
SEEDLESS GREEN GR USA 1 36.00 36.00 | MESCLUN SALAD MESC USA 0 7.50 75.00
WATERMELON SEED USA 1 44.00 44.00 | EGG EX/LOOSE EXLOO USA 5 22.00 110.00
CANTALOUP Cc USA 1 12.00 12.00) SCALLION KING USA 1 38.00 38.00
JUICE ORANGE 100 USA 2 20.00 40.00} SQUASH BUTTERNUT BUIN USA 1 26.00 26.00
SUNKIST ORANGE 56 USA 3 30.00 90.00
STRAWBERRY CAL USA 6 30.00 180.00
RASPBERRY A USA 4 30.00 120.00
BLUEBERRY A USA 2 12.00 24.00
BLACKBERRY A USA 3 18.00 54.00
AVOCADO HASS Cc USA 4 41.00 164.00
MANGO RIPE M/RIP MEX 15 6.50 97.50
TOMATO #1 5x6 USA 2 42.00 84.00
TOMATO PLUM Cc MEX 2 30.00 60.00
TOMATO GRAPE R USA 1 13.00 13.00
TOMATO GRAPE YE USA 1 23.00 23.00
LETTUCE . ICEBERG A USA 1 29.00 29.00
ROMAINE CA-A USA 4 17.00 68.00
CABBAGE RED RED USA 1 19.00 19.00
FLOWER ORCHID 100 USA 2 16.00 32.00
BROCCOLI CROWN CROW USA 3 24.00 72.00
RABE ANDY USA 1 35.00 35.00
ASPARAGUS LG USA 3 32.00 96.00
CELERY Cc USA 1 20.00 20.00
SPINACH BUSH USA 1 24.00 24.00
SPINACH BABY BA/SP USA 12 7.00 84.00
GREEN KALE KALE USA 1 16.00 16.00
STRINGBEAN BEAN USA 1 25.00 25.00
BRUSSEL SP LOOSE USA 1 41.00 41.00
BASIL A USA 1 22.00 22.00
BABY ARRUGULA BA USA 5 14.50 72.50
PEPPER GREEN GR USA 1 19.00 19.00
PEPPER RED RED USA 2 26.00 52.00
YELLOW PEPPER YELL USA 2 20.00 40.00
CUCUMBER CUM MEX 2 37.00 74.00
GARLIC JAR JBOX USA 1 42.00 42.00 Total Boxes: 141.0
SHANGHAI BOKCHOY SH/BK USA 1 26.00 26.00 Delivery §$ : 183.30
MUSHROOM WASH 10LB USA 2: 27.00 34.00
MUSH SPECIAL 10SP USA 4 18.00 72.00 Shipment 2,927.80
PORTABELLA MUS M PO2 USA 1 9.50 6.50 | =seee-eenceerinc msn EER
EGGPLANT ITALIAN ITAL USA 1 26.00 26.00
POTATO IDAHO 90 USA 2 25.00 50.00 Cash Receipt:
CARROT LOOSE LOOSE USA %. (25.00 25.00 | =SSee ee i Se ee
CARROT HNDPLD BABY HNBA USA 4 10.00 40.00
ONION SPANISH SPI USA 2 16.00 32.00 Signature
ONION RED RD-J USA 1 11.00 11.00
Printed on Oct 12, 2020 *ee*#* Balance : 176,556.90

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act. 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S Case 1:20-cv-08786-GHW Document 9-7 _ PAR :1G/BUG?8Bage 11 5PR0 3474381053

 

 

 

 

 

 

 

INVOICE

Ship To: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 341432

#100 Broad st

Ny, NY 10004 Date 01/23/2020
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 1 33.00 33.00] MUSH SPECIAL 10SP USA 4 18.00 72.00
POMEGRANATES 8CHI USA 2 23.00 46.00 | PORTABELLA MUS M PO2 USA 4 9.50 38.00
SEEDLESS GREEN GR USA 1 34.00 34.00 | EGGPLANT Cc USA 1 19.00 19,00
SEEDLESS RED RED USA 1 37.00 37.00] POTATO IDAHO 90 USA 3 25.00 75.00
KIWI LOOSE LLOO USA 1 24.00 24.00 | CARROT LOOSE LOOSE USA 1 25.00 25.00
WATERMELON SEED USA 1 41.00 41.00} ONION SPANISH SPI USA 2 16.00 32.00
HONEY DEW is USA i. Te.00 18.00 | ONION RED RD-J USA 2 11.00 22.00
JUICE ORANGE 100 USA 2 20.00 40.00 | PINE GOLDEN GOL USA 4 24.00 96.00
SUNKIST ORANGE 56 USA 2 30.00 60.00 | BANANA BNA ECU 3 16.50 49.50
LEMON SK SK/L USA 1 34.00 34.00 | PLANTAIN YELLOW Cc ECU 1 27:00 27.00
STRAWBERRY CAL USA 6 32.00 192.00 | MESCLUN SALAD MESC USA 17 7.50 127.50
RASPBERRY A USA 5 30.00 150.00 | EGG EX/ LOOSE EXLOO USA 5 22.00 110.00
BLUEBERRY A USA 5 12.00 60.00 | MONEY PICK UP $ss 0 0.00 0.00
AVOCADO HASS Cc USA 8 42.00 336.00 | SCALLION KING USA 2 36.00 72.00
AVOCADO HASS# RIPE MEX 4 46.00 184.00
PAPAYA RED RIPE RIPE MEX 1 35.00 35.00
MANGO RIPE M/RIP MEX 15 6.50 97.50
TOMATO #1 5X6 USA 4 43.00 172.00
TOMATO PLUM Cc MEX 2 28.00 56.00
TOMATO GRAPE R USA 1 23.00 13.00
TOMATO GRAPE YE USA 1 21.00 21.00
LETTUCE . ICEBERG A USA 1 28.00 28.00
ROMAINE CA-A USA 4 18.00 72.00
CAULIFLOWER c USA 1 33.00 33.00
BROCCOLI CROWN CROW USA 2 22:00 44.00
RABE ANDY USA 1 35.00 35.00
ASPARAGUS LG USA 4 32.00 128.00
CELERY c USA 1 19.00 19.00
SPINACH BUSH USA 1 24.00 24.00
SPINACH BABY BA/SP USA 12 7.00 84.00
GREEN KALE KALE USA 1 16.00 16.00
ALFALFA CUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA 2 39.00 78.00
BASIL A USA 1 22.00 22.00
BABY ARRUGULA BA USA 4 14.50 58.00
PARSLEY PLAIN FULL USA 1 25.00 25.00
CILANTRO Cc USA 1 18.00 18.00
BEETS 25LB LBAG CAN 1 9.00 9.00 Total Boxes: 169.0
PEPPER GREEN GR USA 1 19.00 19.00 Delivery §$ : 219.70
PEPPER RED RED USA 2 24.00 48.00
YELLOW PEPPER YELL USA 2 18.00 36.00 Shipment : 3,782.20
JALAPINO JALPN HOL 1 20.00 DO OO |
CUCUMBER CUM MEX 3 38.00 114.00
SQUASH GREEN GR USA 1 31.00 31.00 Cash Receipt:
SQUASH YELLOW YEL MEX 1 36.00 —« 3600 | ar ES
GARLIC JAR JBOX USA 1 42.00 42.00
GINGER 10LB 10LB CHN 1 12.00 12.00 Signature
MUSHROOM WASH 10LB USA 3 17.00 51.00
Printed on Oct 12, 2020 ***%*%% Balance : 179,484.70

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural

commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S Case 1:20-cv-08786-GHW Document 9-7 PARA GSU OTP Sage 12 BPain SADM8S 1058

INVOICE

 

 

 

 

 

 

ShipTo: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 341505
#100 Broad st
NY, NY 10004 Date 01/24/2020
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 1 33.00 33.00 | ONION RED RED USA L 213..00 11.00
STAR RUBY Cc USA 1 28.00 28.00 | PINE GOLDEN GOL USA 4 24.00 96.00
WATERMELON SEED USA 1 38.00 38.00] BANANA BNA ECU 1 16.50 16.50
CANTALOUP Cc USA 1 22.60 12.00 | MESCLUN SALAD MESC USA 12 1.30 90.00
HONEY DEW Cc USA 1 18.00 18.00 | EGG EX/LOOSE EXLOO USA 10 22.00 220.00
JUICE ORANCE 100 USA 4 20.00 80.00| MONEY PICK UP $$$ 0 0.00 0.00
SUNKIST ORANGE 56 USA 4 30.00 120.00 | SCALLION KING USA 2 34.00 68.00
STRAWBERRY CAL USA 3 35.00 105.00
RASPBERRY A USA 2 27.00 54.00
BLUEBERRY A USA 2 11.00 22.00
BLACKBERRY A USA 2 15.00 30.00
AVOCADO HASS c USA 6 41.00 246.00
MANGO RIPE M/RIP MEX 10 6.50 65.00
TOMATO #1 5X6 USA 2 43.00 86.00
TOMATO PLUM Cc MEX 1 28.00 28.00
TOMATO GRAPE R USA 2 14.00 28.00
TOMATO GRAPE YE USA 1. .23.'00 23.00
ROMAINE CA-A USA 2 16.00 32.00
CABBAGE GR GR USA 1 14.00 14.00
CAULIFLOWER c USA 1 33.00 33.00
FLOWER ORCHID 100 USA 2 25.00 50.00
BROCCOLI CROWN CROW USA 2 18.00 36.00
ASPARAGUS LG USA 3 32.00 96.00
SPINACH BUSH USA 1 28.00 28.00
SPINACH BABY BA/SP USA 4 7.00 28.00
STRINGBEAN BEAN USA 1 24.00 24.00
SNOWPEA A USA 1 19.00 19.00
ENDIVES A USA i 21.00 21.00
ALFALFA CUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA 2 38.00 76.00
RADICCIO.. RD/CO USA 1 14.00 14.00
BABY ARRUGULA BA USA 11 14.50 159.50
CORN YCRT USA 1 24.00 24.00
CILANTRO C USA 1 18.00 18.00
PEPPER GREEN GR USA 2 16.00 32.00
PEPPER RED RED USA 2 221.00 42.00
YELLOW PEPPER YELL USA 2 18.00 36.00
JALAPINO JALPN HOL 1 20.00 20.00 Total Boxes: 129.0
CUCUMBER CUM MEX 1 26.00 26.00 Delivery $ 167.70
SQUASH GREEN GR USA 1 31.00 31.00
SQUASH YELLOW YEL MEX 1 38.00 38.00 Shipment 2,785.70
WATERCRESS BEWw MEX 1 19.00 VD
MUSHROOM WASH 10LB USA 1 17.00 17.00
MUSH SPECIAL 10SP USA 1 18.00 18.00 Cash Receipt:
POTATO IDAHO 90 USA 2 25.00 OO mm
POTATO RED A BOX BOX A USA 1 28.00 28.00
CARROT LOOSE LOOSE USA 1 25.00 25.00 Signature
ONION SPANISH SPI USA 2 17.00 34.00
Printed on Oct 12, 2020 *#ke*e** Balance : 183,266.90

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
Case 1:20-cv-08786-GHW Document 9-7_ Filed 10/26/20 Page 127 4if 30 OUBIROMS

K&S
22-19 160 Street
Whitestone, NY 11357

Telephone : 718)767-2808 Fax: 347)438-1053

Ship To: #1 TEB 100 BROAD STREET LLC (ESSEN) From : To:

#100 Broad st a SO
NY, NY 10004 {26/20 01/31/2020

212) 943-0100

 

 

 

 

 

Shipped Amont Payment

01/26 Sunday 0.00 0.00
01/27 Monday 3763.70 0.00
01/28 Tuesday 3768.50 0.00
01/29 Wednesday 3005.20 16225.80
01/30 Thursday 3336.30 0.00
01/31 Friday 1858.20 16220.20

Shipped Total 15731. 90 Paid Total 32446.00

Delivery Charge 0.00 Credit Memo

Credit 0.00
aoe rt Date +/- Qty Item Price Amount
Sub-Total (+) 15, 75ts90 90 RRS te
Prev.Balance(+) 186,052.60 No credit has been recorded
Payment 32,446.00

Current Balance 169,338.50

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

AR Aging Report Current Balance 169,338.50
Ist Week 15,731.90 Received Amount (- )
2nd Week 0.00 This Week Balance
3rd Week & Over 153,606.60 Received By
Paid By

 

 

 

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.

All interest, costs, attorney's fees due seller shall be considered sums owing in connection with this transaction uner the PACA trust.
K&S Case 1:20-cv-08786-GHW_ Document 9-7 FIPS AUP Bane 11 bP AESOP

 

 

 

 

 

 

 

 

INVOICE

Ship To: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 341590

#100 Broad st

NY, NY 10004 Date 01/27/2020
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
RED EX FANCY 80 USA 1 34.00 34.00] MUSH SPECIAL 10SP USA 4 18.00 72.00
GRANNY SMITH 80 USA 1 33.00 33.00] PORTABELLA MUS M PO2 USA 2 9.50 19.00
STAR RUBY Cc USA 2 28.00 56.00] YAM #1 YAM USA 1 18.00 18.00
POMEGRANATES 8CHI USA 2 23.00 46.00 | EGGPLANT c USA 1 18.00 18.00
SEEDLESS RED RED USA 1 36.00 36.00 | POTATO IDAHO 90 USA 3 25.00 75.00
KIWI LOOSE LLOO USA 1 25.00 25.00 | CARROT LOOSE LOOSE USA 2 25.00 50.00
WATERMELON SEED USA 1 40.00 40.00 | ONION SPANISH SPI USA 2 17.00 34.00
CANTALOUP ¢ USA 1 12.00 12.00 | ONION RED RD-J USA 1 11.00 11.00
HONEY DEW c USA 1 17.00 17.00 | PINE GOLDEN GOL USA 5 26.00 130.00
SUNKIST ORANGE 56 USA 3 30.00 90.00 | BANANA BNA ECU 3 16.50 49.50
LEMON SK SK/L USA 1 34.00 34.00 | MESCLUN SALAD MESC USA 10 7.50 75.00
STRAWBERRY CAL USA 9 29.00 261.00] CELERY CHOP BOX USA 1 $4.00 34.00
RASPBERRY A USA 7 25.00 175.00 | EGG EX/LOOSE EXLOO USA 7 26.50 185.50
BLUEBERRY A USA 7 15.00 105.00 | MONEY PICK UP $$$ 0 860.00 0.00
BLACKBERRY A USA 3 14.00 42.00 | SCALLION KING USA 2 35.00 70.00
AVOCADO HASS# RIPE MEX 5 44.00 220.00
PAPAYA RED RIPE RIPE MEX 1 35.00 35.00
MANGO RIPE M/RIP MEX 10 6.50 65.00
TOMATO #1 5X6 USA 3 42.00 126.00
TOMATO PLUM Cc MEX 1 27.00 27.00
TOMATO CHERRY c USA 1 30.00 30.00
TOMATO GRAPE R USA 2 14.00 28.00
LETTUCE . ICEBERG A USA 1 23.00 23.00
ROMAINE CA-A USA 4 16.00 64.00
CAULIFLOWER c USA 2 41.00 82.00
BROCCOLI CROWN CROW USA 4 17.00 68.00
RABE ANDY USA 2 35.00 70.00
ASPARAGUS LG USA 3 33.00 99.00
CELERY Cc USA 1 19.00 19.00
SPINACH BABY BA/SP USA 12 6.50 78.00
GREEN LEAF GR USA 1 26.00 26.00
GREEN KALE KALE USA 4 16.00 64.00
STRINGBEAN BEAN USA 1 28.00 28.00
ALFALFA CUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA 1 38.00 38.00
MINT A USA 1 15.00 15.00
BABY ARRUGULA BA USA 6 15.00 90.00
PARSLEY PLAIN FULL USA 1 23.00 23.00 Total Boxes: 169.0
CILANTRO c USA 1 18.00 18.00 Delivery § : 219.70
BEETS 25LB LBAG CAN 2 10.00 20.00
PEPPER GREEN GR USA 1 16.00 16.00 Shipment : 3,763.70
PEPPER RED RED USA 1 28.00 QDR. 00 | mm
YELLOW PEPPER YELL USA 2 18.00 36.00
CUCUMBER CUM MEX 2 26.00 52.00 Cash Receipt:
SQUASH GREEN GR USA 2 33.00 66.00 | =S See See eee ne
SQUASH YELLOW YEL MEX 1 38.00 38.00
GARLIC JAR JBOX USA 1 42.00 42.00 Signature
MUSHROOM WASH 10LB USA 3 217,00 51.00
Printed on Oct 12, 2020 keke%% Balance : 186,052.60

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
ane ee oe 30C7 U.S.C. 499(E)(C)), The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S Case 1:20-cv-08786-GHW Document 9-7 Pieet 10728780-28%ge 15 dfa8O 347)438-1053

 

 

 

 

 

 

 

INVOICE

ShipTo: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 341647

#100 Broad st

NY, NY 10004 Date 01/28/2020
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
RED EX FANCY 80 USA 1 32.00 32.00 | CUCUMBER CUM MEX 2 30.00 60.00
GRANNY SMITH 80 USA 1 33.00 33.00] GARLIC JAR JBOX USA 1 42.00 42.00
GALA APPLE 80 USA 1 38.00 38.00 | SHANGHAI BOKCHOY SH/BK USA 1 26.00 26.00
STAR RUBY Cc USA 1 28.00 28.00 | MOO ios USA 1 20.00 20.00
POMEGRANATES 8CHI USA 2 23.00 46.00 | GINGER 10LB 10LB CHN 1 12.00 12.00
SEEDLESS GREEN GR USA 1 36.00 36.00 | MUSHROOM WASH 10LB USA 1 17.00 17.00
SEEDLESS RED RED USA 1 36.00 36.00 | MUSH SPECIAL 10SP USA 4 18.00 72.00
KIWI LOOSE LLOO USA 1 26.00 26.00 | PORTABELLA MUS M PO2 USA 4 9.50 38.00
WATERMELON SEED USA 1 40.00 40.00 | EGGPLANT ITALIAN ITAL USA 1 25.00 25.00
HONEY DEW c USA 1, 17.00 17.00 | POTATO IDAHO 90 USA 2 25.00 50.00
JUICE ORANGE 100 USA 3 20.00 60.00 | CARROT LOOSE LOOSE USA 2 25.00 50.00
SUNKIST ORANGE 56 USA 1 30.00 30.00 | ONION SPANISH SPI USA 1 17.00 L500
LEMON SK SK/L USA 1 34.00 34.00] ONION RED RD-J USA 2 11.00 22.00
STRAWBERRY CAL USA 7 28.00 196.00 | TOFU 8s USA 1 14.00 14.00
RASPBERRY A USA 6 23.00 138.00] PINE GOLDEN GOL USA 3 26.00 78.00
BLUEBERRY A USA 7 15.00 105.00 | BANANA BNA ECU 3 16.50 49.50
BLACKBERRY A USA 3 13.00 39.00} MESCLUN SALAD MESC USA 10 7.50 75.00
AVOCADO HASS Cc USA 8 40.00 320.00] EGG EX/LOOSE EXLOO USA 5 26.50 132.50
PAPAYA RED RIPE RIPE MEX 1 35.00 35.00 | HERBS ROSEMARY ROSE CHL 2 7.50 15.00
MANGO RIPE M/RIP MEX 15 6.50 97.50 | YUKON A BOX Y ABO USA 1 34.00 34.00
LIME 48 MEX L 9.00 9.00 | SCALLION KING USA 3 30.00 90.00
TOMATO #1 5X6 USA 2 40.00 80.00
TOMATO PLUM Cc MEX 2 27.00 54.00
TOMATO GRAPE R USA 2 14.00 28.00
TOMATO GRAPE YE USA 1 22.00 22.00
LETTUCE . ICEBERG A USA 1 22.00 22.00
ROMAINE CA-A USA 4 17.00 68.00
CABBAGE GR GR USA 1 14.00 14.00
FLOWER ORCHID 100 USA 2 25.00 50.00
BROCCOLI CROWN CROW USA 3 16.00 48.00
RABE ANDY USA 1 35.00 35.00
ASPARAGUS LG USA 3 32.00 96.00
CELERY c USA 2 19.00 38.00
SPINACH BUSH USA 2 28.00 56.00
SPINACH BABY BA/SP USA 12 6.50 78.00
GREEN KALE KALE USA 4 16.00 64.00
STRINGBEAN BEAN USA 1 26.00 26.00
SUGAR SNAPEA SNAP PER 1 20.00 20.00 Total Boxes: 180.0
BRUSSEL SP LOOSE USA 2 36.00 72.00 Delivery § : 234.00
SHALLOT JAR/5LB SJ#5 USA 1 11.00 11.00
RADICCIO.. RD/CO USA 1 14.00 14.00 Shipment : 3,768.50
BASIL A USE i 20:00 (26,100) =os=soeessesesSHse SS Senn
BABY ARRUGULA BA USA 7 15.00 105.00
CILANTRO c USA 1 18.00 18.00 Cash Receipt:
BEETS 25LB LBAG CAN 1 10.00 ST, GS |e i ti i i ee aT
PEPPER GREEN GR USA 2 14.00 28.00
PEPPER RED RED USA 3 29.00 87.00 Signature
YELLOW PEPPER YELL USA 2 18.00 36.00
Printed on Oct 12, 2020 ****e* Balance : 189,816.30

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act. 1930(7 U.S.C. 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S

Case 1:20-cv-08786-GHW Document 9-7 PFikedet0726)20-2%age 16 oF BO 347)438-1053
INVOICE

 

 

 

 

 

 

ShipTo: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 341687
#100 Broad st
NY, NY 10004 Date 01/29/2020
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
RED EX FANCY 80 USA 1 32.00 32.00] ONION RED RD-J USA 2 12.00 24.00
GRANNY SMITH 80 USA 1 33.00 33.00 | PINE GOLDEN GOL USA 3 26.00 78.00
GALA APPLE 80 USA 1 38.00 38.00 | BANANA BNA ECU 2 16.50 33.00
STAR RUBY Cc USA 1 28.00 28.00 | BANANA Y.G ¥+G ECU 1 16.50 16.50
POMEGRANATES 8CHI USA 2 22.00 44.00) MESCLUN SALAD MESC USA 12 7.50 90.00
WATERMELON SEED USA 1 38.00 38.00 | CELERY CHOP BOX USA 1 34.00 34.00
CANTALOUP c USA 1 12.00 12.00 | EGG EX/LOOSE EXLOO USA 6 26.50 159.00
SUNKIST ORANGE 56 USA 3 29,00 87.00) SCALLION KING USA 2 30.00 60.00
LEMON SK SK/L USA 1 33.00 33.00
STRAWBERRY CAL USA 6 25.00 150.00
RASPBERRY A USA 2 23.00 46.00
BLUEBERRY A USA 4 15.00 60.00
AVOCADO HASS ie USA 10 40.00 400.00
PAPAYA RED RIPE RIPE MEX 1 35.00 35.00
MANGO RIPE M/RIP MEX 15 6.50 97.50
TOMATO #1 5X6 USA 3 33.00 99.00
TOMATO PLUM ce MEX 2 25.00 50.00
TOMATO GRAPE R USA 2 14.00 28.00
LETTUCE . ICEBERG A USA 1 20.00 20.00
ROMAINE CA-A USA 2 17.00 34.00
BROCCOLI CROWN CROW USA 2 15.00 30.00
RABE ANDY USA 1 35...06 35.00
ASPARAGUS LG USA 3 32.00 96.00
SPINACH BABY BA/SP USA 8 6.50 52.00
GREEN KALE KALE USA 2 16.00 32.00
SNOWPEA A USA 1 20.00 20.00
ALFALFA CUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA 1 36.00 36.00
BABY ARRUGULA Baw USA 4 22.00 88.00
PARSLEY PLAIN FULL USA 1 24.00 24.00
CILANTRO CG USA 1 18.00 18.00
BEETS 25LB LBAG CAN 1 10.00 10.00
PEPPER GREEN GR USA 1 12.00 12.00
PEPPER RED RED USA 3 28.00 84.00
YELLOW PEPPER YELL USA 1 18.00 18.00
JALAPINO JALPN HOL 1 17.00 17.00
CUCUMBER CUM MEX 2 24.00 48.00
SQUASH GREEN GR USA 1 31.00 31.00 Total Boxes: 139.0
SQUASH YELLOW YEL MEX 1 31.00 31.00 Delivery § 180.70
GARLIC JAR JBOX USA 1 42.00 42.00
GINGER 10LB 10LB CHN 1 12.00 12.00 Shipment 3,005.20
MUSHROOM WASH 10LB USA 2 17.00 32 00) = SS SS See ee a aie eee
MUSH SPECIAL 10SP USA 2 18.00 36.00
PORTABELLA MUS M PO2 USA 3 9.50 28.50 Cash Receipt:
POTATO IDAHO 90 USA 2 25,00  £50:.00)) -Se=---e-Sess-S---Seee SSeS ee eee
POTATO RED A BOX BOX A USA 1 28.00 28.00
CARROT LOOSE LOOSE USA 1 24.00 24.00 Signature
ONION SPANISH SPI USA 1 17.00 17.00
Printed on Oct 12, 2020 **eee% Balance : 193,584.80

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural

commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S Case 1:20-cv-08786-GHW_Document 9-7 FRR 10/28/62 *88qe 17 dit%%O_347)438-1053

 

 

 

 

 

 

 

INVOICE
Ship To: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 341794
#100 Broad st
NY, NY 10004 Date 01/30/2020
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 1 33.00 33.00] ONION RED RD-J USA 2 12.00 24.00
POMEGRANATES 8CHI USA 2 22.00 44.00 | PINE GOLDEN GoL USA 4 26.00 104.00
SEEDLESS RED RED USA 1 36.00 36.00] BANANA BNA ECU 2 16.50 33.00
KIWI LOOSE LLOO USA 1 25.00 25.00] PLANTAIN YELLOW € ECU 1 25.00 25.00
WATERMELON SEED USA 1 38.00 38.00 |} MESCLUN SALAD MESC USA 14 7.50 105.00
JUICE ORANGE 100 USA 2 20.00 40.00} EGG EX/LOOSE EXLOO USA 8 26.50 217.00
SUNKIST ORANGE 56 USA 3 28.00 84.00 | SCALLION KING USA 3 23.00 69.00
STRAWBERRY CAL USA 6 21.00 126.00] SQUASH BUTTERNUT BUTN USA 1 28.00 28.00
RASPBERRY A USA 4 23.00 92.00
BLUEBERRY A USA 6 17.00 102.00
BLACKBERRY A USA 2 12.00 24.00
AVOCADO HASS Cc USA 6 39.00 234.00
AVOCADO HASS# RIPE MEX 4 42.00 168.00
MANGO RIPE M/RIP MEX 10 6.00 60.00
TOMATO #1 5X6 USA 2 29.00 58.00
TOMATO PLUM Cc MEX 2 22.00 44,00
TOMATO CHERRY Cc USA 2 24.00 48.00
TOMATO GRAPE R USA 2 13.00 26.00
TOMATO GRAPE YE USA 1 19.00 19.00
TOMATILLO ORG MEX 1 11.00 11.00
ROMAINE CA-A USA 4 17.00 68.00
CAULIFLOWER Cc USA 2 42.00 84.00
FLOWER ORCHID 100 USA 2 25.00 50.00
BROCCOLI CROWN CROW USA 4 13.00 52.00
RABE ANDY USA 1 35.00 35.00
ASPARAGUS LG USA 3 29.00 87.00
CELERY Cc USA 1 18.00 18.00
SPINACH BUSH USA 1 27.00 27.00
SPINACH BABY BA/SP USA 10 6.50 65.00
BRUSSEL SP LOOSE USA 1 35.00 35.00
SHALLOT JAR/5LB Sg#5 USA 1 11.00 11.00
RADICCIO. . RD/CO USA 1 14.00 14.00
BABY ARRUGULA BA USA 7 16.00 112.00
BEETS 25LB LBAG CAN 1 10.00 10.00
PEPPER GREEN GR USA 2 12.00 24.00
PEPPER RED RED USA 2 26.00 52.00
YELLOW PEPPER YELL USA 2 17.00 34.00
JALAPINO JALPN HOL tL 4I7 500 17.00 Total Boxes: 161.0
CUCUMBER CUM MEX 2 29.00 58.00 Delivery $ : 209.30
SQUASH GREEN GR USA 1 31.00 31.00
SQUASH YELLOW YEL MEX 1 30.00 30.00 Shipment : 3,336.30
MUSHROOM WASH 10LB USA 1 17.00 7200) || ==
MUSH SPECIAL 10SP USA 4 18.00 72.00
PORTABELLA MUS M PO2 USA 4 9.50 38.00 Cash Receipt:
EGGPLANT c USA 1 17.00 1.-7..00 |. Sse eee eee Se
POTATO IDAHO 90 USA 3 25.00 75.00
CARROT LOOSE LOOSE USA 2 24.00 48.00 Signature
ONION SPANISH SPI USA 2 17.00 34.00
Printed on Oct 12, 2020 *ee*e** Balance : 180,364.20

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S Case 1:20-cv-08786-GHW Document 9-7  Phert :1.0718878628Pfage 18 dB 347)438-1053

 

 

 

 

 

 

 

INVOICE
ShipTo: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 341824
#100 Broad st
NY, NY 10004 Date 01/31/2020
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
POMEGRANATES 8CHI USA 2 22.00 44.00
CANTALOUP c USA 1 12.00 12.00
JUICE ORANGE 100 USA 1 20.00 20.00
SUNKIST ORANGE 56 USA 2 29.00 58.00
STRAWBERRY CAL USA 3 21.00 63.00
RASPRERRY A USA 4 18.00 72.00
BLUEBERRY A USA 4 17.00 68.00
BLACKBERRY A USA ZL: 22300 12.00
MANGO RIPE M/RIP MEX 15 6.00 90.00
TOMATO #1 5X6 USA 3 27.00 81.00
TOMATO PLUM Cc MEX 1 22,00 22.00
ROMAINE CA-A USA 2 17.00 34.00
CABBAGE GR GR USA 1 14.00 14.00
CAULIFLOWER c USA 2 36.00 72.00
BROCCOLI CROWN CROW USA 2 13.00 26.00
ASPARAGUS LG USA 3 29.00 87.00
SPINACH BABY BA/SP USA 12 6.50 78.00
GREEN LEAF GR USA 1 21.00 21.00
GREEN COLLARD COALD USA 1 15.00 15.00
ALFALFA CUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA 2 34.00 68.00
BABY ARRUGULA BA USA 3 15.50 46.50
CILANTRO Cc USA 1 18.00 18.00
PEPPER GREEN GR USA 1 13,00 13.00
PEPPER RED RED USA 1 28.00 28.00
YELLOW PEPPER YELL USA 2 17.00 34.00
CUCUMBER CUM MEX 1 28.00 28.00
SQUASH GREEN GR USA 1 29.00 29.00
MUSHROOM WASH 10LB USA 1 17.00 17.00
MUSH SPECIAL 10SP USA 2 18.00 36.00
PORTABELLA MUS M PO2 USA 1 9.50 9.50
POTATO IDAHO 90 USA 2 24.00 48.00
CARROT LOOSE LOOSE USA 1, 25200 25.00
ONION SPANISH SPI USA 1 17.00 17.00
PINE GOLDEN GOL USA 2 25.00 50.00
BANANA BNA ECU 2 16.50 33.00
MESCLUN SALAD MESC USA 8 7.50 60.00
EGG EX/LOOSE EXLOO USA 7 27.00 189.00 Total Boxes: 104.0
SCALLION KING USA Z 2300 46.00 Delivery $ : 135.20
SQUASH BUTTERNUT BUTN USA 1. 27,00 27.00
Shipment : 1,858.20
Cash Receipt:
Signature
Printed on Oct 12, 2020 kkkkke Balance : 183,700.50

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
Case 1:20-cv-08786-GHW_Document 9-7_ Filed 10/26/20 Page 1P Hf 30 07/07/2020

K&S
22-19 160 Street
Whitestone, NY 11357

Telephone : 718)767-2808 Fax: 347)438-1053

Ship To: #1 TEB 100 BROAD STREET LLC (ESSEN) From: To:
#100 Broad st

NY, NY 10004
212) 943-0100

02/02/2020 02/07/2020

 

 

 

 

 

Shipped Amont Payment
02/02 Sunday 0.00 0.00
02/03 Monday 3470.20 0.00
02/04 Tuesday 3083.90 0.00
02/05 Wednesday 3073.40 0.00
02/06 Thursday 3252.70 0.00
02/07 Friday 2034.70 0.00
Shipped Total 14914.90 Paid Total 0.00
Delivery Charge 0.00 Credit Memo
Credit 0.00
meena Date +/- Qty Item Price Amount
Bibeliebal bey Ua, SURO 9 See ewuee eee eee nnmnnT
Prev.Balance(t+) 169,338.50 02/07 + 1 horse rt-18.3 0.00 0.00
02/07 + 1 1/23 ngck ad+ 0.00 0.00
Payment 0.00 jo Seese+sosesceer cc rsmentsT tT ee
wen nnn Credit Total 0.00

Guceent BATAHES! VE4, 2539.40 j= =e HHes cece ter

 

 

 

 

 

 

 

 

 

 

 

 

 

 

AR Aging Report Current Balance 184,253.40
Ist Week 14,914.90 Received Amount (-)
2nd Week 15,731.90 This Week Balance
3rd Week & Over 153,606.60 Received By
Paid By

 

 

 

 

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment Is recieved.

All interest, costs, attorney's fees due seller shall be considered sums owing in connection with this transaction uner the PACA trust.
K&S Case 1:20-cv-08786-GHW Document 9-7 PRS d/SYOIP Bang 20 BPig 3474381053

INVOICE

 

 

 

 

 

 

 

ShipTo: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 341912
#100 Broad st
NY, NY 10004 Date 02/03/2020
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
RED EX FANCY 80 USA 1 31.00 31.00 | CUCUMBER CUM MEX 2 24.00 48.00
GRANNY SMITH 80 USA 1 33.00 33.00] SQUASH GREEN GR USA 1 20.00 20.00
GALA APPLE 80 USA 1 38.00 38.00 | SQUASH YELLOW YEL MEX 1 22.00 22.00
STAR RUBY c USA 1 29.00 29.00] GARLIC JAR JBOX USA 1 48.00 48.00
POMEGRANATEs 8CHI USA 2 21.00 42.00] GINGER 10LB 10LB CHN 1 16.00 16.00
SEEDLESS GREEN GR USA 1 36.00 36.00 | MUSHROOM WASH 10LB USA 2 17200 34.00
SEEDLESS RED RED USA 1 36.00 36.00 | MUSH SPECIAL 10SP USA 4 18.00 72.00
KIWI LOOSE LLOO USA 1 25.00 25.00] PORTABELLA MUS M PO2 USA 2 9.50 19.00
WATERMELON SEED USA 1 38.00 38.00 | YAM #1 YAM USA 1 18.00 18.00
HONEY DEW Cc USA 1 14.00 14.00 | EGGPLANT Cc USA 1 16.00 16.00
SUNKIST ORANGE 56 USA 2 28.00 56.00 | EGGPLANT ITALIAN ITAL USA 1 25.00 25.00
LEMON SK SK/L USA 1 33.00 33.00 | POTATO IDAHO 90 USA 2 24.00 48.00
STRAWBERRY CAL USA 9 18.00 162.00] POTATO RED A BOX BOX A USA 1 28.00 28.00
RASPBERRY A USA 5 21.00 105.00 | CARROT LOOSE LOOSE USA 2 23.00 46.00
BLUEBERRY A USA 4 16.00 64.00 | ONION SPANISH SPI USA 2 16.00 32.00
BLACKBERRY A USA 3 11.00 33.00 | ONION RED RD-J USA 2 12.00 24.00
PAPAYA RED RIPE RIPE MEX 1 34.00 34.00] TOFU Ss USA 1 14.00 14.00
MANGO RIPE M/RIP MEX 15 6.00 90.00 | PINE GOLDEN GOL USA 4 26.00 104.00
LIME 48 MEX 1 8.00 8.00 | BANANA BNA ECU 3 17.00 51.00
TOMATO #1 5X6 USA 1 21.00 21.00 | PLANTAIN YELLOW c ECU 1 24.00 24.00
TOMATO PLUM Cc MEX 2 17.00 34.00] RUSKUS LEAF RU/LF USA 5 10.00 50.00
TOMATO CHERRY ¢ USA 1 25.00 25.00] MESCLUN SALAD MESC USA 12 7.50 90.00
TOMATO GRAPE R USA 2. 11.00 22.00 | CELERY CHOP BOX USA 1 34.00 34.00
TOMATO GRAPE YE USA 1 26.00 26.00] EGG EX/LOOSE EXLOO USA 7 34.50 241.50
YELIOW. TOMATO YTO USA 0 0.00 0.00 | YUKON A BOX Y ABO USA 1, 32,00 32.00
LETTUCE . ICEBERG A USA 1 18.00 18.00 | ORDER PAPER OR/ PE 0 0.00 0.00
ROMAINE CA-A USA 4 T7200 68.00 | SCALLION KING USA 2 21.00 42.00
CABBAGE RED RED USA 1 19.00 19.00
CAULIFLOWER USA 2 28.00 56.00
BROCCOLI CROWN CROW USA 3 15.00 45.00
RABE ANDY USA 2 35.00 70.00
ASPARAGUS LG USA 4 27.00 108.00
CELERY Cc USA 2 18.00 36.00
SPINACH BUSH USA 1 27.00 27.00
SPINACH BABY BA/SP USA 8 6.50 52.00
GREEN KALE KALE USA 5 16.00 80.00
STRINGBEAN BEAN USA 1 23.00 23.00
BRUSSEL SP LOOSE USA 2 33.00 66.00 Total Boxes: 179.0
SHALLOT JAR/5LB SJ#5 USA 1 11.00 11.00 Delivery $ : 232.70
RADICCIO. . RD/CO USA 1 14.00 14.00
MINT A USA 1 15.00 15.00 Shipment 3,470.20
BASIL A USA 2 20.00 BO. OD | am
BABY ARRUGULA BA USA 8 14.00 112.00
CILANTRO Cc USA 1 18.00 18.00 Cash Receipt:
BEETS 25LB LBAG CAN 1 10.00 VO OO |
PEPPER GREEN GR USA 2 14.00 28.00
PEPPER RED RED USA 2 29.00 58.00 Signature
YELLOW PEPPER YELL USA 2 15.00 30.00
Printed on Oct 12, 2020 kkkke* Balance : 169,338.50

The perishable agricultural commodities listed on thi

commodities act, 1930(7 U.S.C, 499(E)(C)). The sell

s invoice are sold subject to the statutory trust authorized by scctio
er of these commodities retains a trust claim over these commoditie
products derived from these commodities and any receival

bles or proceed from the sale of these commodities until full payment i

tion 5(c) of the perishable agricultural
s, all inventories of food or other
s recieved,
K&S Case 1:20-cv-08786-GHW Document 9-7_ Para 1d/BO0?8 Sage 21 digo 347)438-103

 

 

 

 

 

 

 

INVOICE
ShipTo: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 341956
#100 Broad st
Ny, NY 10004 Date 02/04/2020
Item Type Origin QTY Price Amount | Item Type Origin QTY Price | Amount
GRANNY SMITH 80 USA 2 33.00 66.00 | CARROT LOOSE LOOSE USA 1 23.00 23.00
POMEGRANATES 8CHI USA 1 21.00 21.00] ONION SPANISH SPI USA 2 16.00 32.00
SEEDLESS RED RED USA 1 35.00 35.00 | ONION RED RD-J USA 2 s2.00 24.00
WATERMELON SEED USA 1 38.00 38.00] PINE GOLDEN GOL USA 4 24.00 96.00
CANTALOUP c USA 1 12.00 12.00 | BANANA BNA ECU 3 17.00 51.00
HONEY DEW c USA 1 14.00 14.00) MESCLUN SALAD MESC USA 12 7.50 90.00
JUICE ORANGE 100 USA 2 20.00 40.00 | EGG EX/LOOSE EXLOO USA 6 34.50 207.00
SUNKIST ORANGE 56 USA 2 28.00 56.00} SCALLION KING USA 3 20.00 60.00
LEMON SK SK/L USA 1 34.00 34.00
STRAWBERRY CAL USA 7 #418.00 126.00
RASPBERRY A USA 4 21.00 84.00
BLUEBERRY A USA 4 16.00 64.00
AVOCADO HASS Cc USA 10 38.00 380.00
PAPAYA RED RIPE RIPE MEX 1 34.00 34.00
MANGO RIPE M/RIP MEX 10 6.00 60.00
TOMATO #1 5X6 USA 2 20.00 40.00
TOMATO PLUM c MEX 2 18.00 36.00
TOMATO GRAPE R USA 1 11.00 11.00
LETTUCE . ICEBERG A USA 1 18.00 18.00
ROMAINE CA-A USA 3 17.00 51.00
CAULIFLOWER c USA 2 25.00 50.00
BROCCOLI CROWN CROW USA 3 13.00 39.00
RABE ANDY USA 1 35.00 35.00
ASPARAGUS LG USA 4 26.00 104.00
SPINACH BUSH USA 1 28.00 28.00
SPINACH BABY BA/SP USA 11 6.50 71.50
GREEN KALE KALE USA 3 16.00 48.00
STRINGBEAN BEAN USA 1, 22.00 22.00
ALFALFA CUP USA i: 12:00 12.00
BRUSSEL SP LOOSE USA 2 32.00 64.00
RADICCIO.. RD/CO USA 1 14.00 14.00
BABY ARRUGULA BA USA 7 13.50 94.50
PARSLEY PLAIN FULL USA 1 26.00 26.00
CILANTRO c USA 1 18.00 18.00
BEETS 25LB LBAG CAN 2 10.00 20.00
PEPPER GREEN GR USA 1 14.00 14.00
PEPPER RED RED USA 2 27.00 54.00
YELLOW PEPPER YELL USA 1 16.00 16.00 Total Boxes: 153.0
JALAPINO JALPN HOL 1 17.00 17.00 Delivery $ : 198.90
CUCUMBER CUM MEX 1 20.00 20.00
SQUASH GREEN GR USA 1 16.00 16.00| Shipment +: 3,083.90
SQUASH YELLOW vit, MEX 2 20,00 20.00)| eer -sererten sr
GARLIC JAR JBOX USA 1 54.00 54.00
SHANGHAI BOKCHOY SH/BK USA 1 23.00 23.00) Cash Receipt:
MUSHROOM WASH 10LB USA 1 17.00 LEWOO | Sas ene Te
MUSH SPECIAL 10SP USA 4 18.00 72.00
PORTABELLA MUS M P02 USA 4 9.50 38.00 Signature
POTATO IDAHO 90 USA 3 25.00 75.00
Printed on Oct 12, 2020 *kk*** Balance : 172,808.70

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act. 1930(7 U.S.C. 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S Case 1:20-cv-08786-GHW Document 9-7_ Para 1B? Bane 22 dfs 47888 10°

 

 

 

 

 

 

 

INVOICE
ShipTo: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 342023
#100 Broad st
NY, NY 10004 Date 02/05/2020
Item Type Origin QTY Price Amount | Item Type Origin QTY Price | Amount
GRANNY SMITH 80 USA 1 31.00 31.00 | PORTABELLA MUS M PO2 USA 4 9.50 38.00
STAR RUBY Cc USA 1 27.00 27.00 | YAM #1 YAM USA 1 18.00 18.00
POMEGRANATES 8CHI USA 2 21.00 42.00 | POTATO IDAHO 90 USA 3 25.00 75.00
SEEDLESS GREEN GR USA 1 36.00 36.00 | CARROT LOOSE LOOSE USA 2 23.00 46.00
CANTALOUP Cc USA 1 13.00 13.00 | ONION SPANISH SPI USA 2 16.00 32.00
HONEY DEW c USA 1 14.00 14.00 | ONION RED RD-J USA 2 12.00 24.00
SUNKIST ORANGE 56 USA 2 28.00 56.00 | PINE GOLDEN GOL USA 4 24.00 96.00
STRAWBERRY CAL USA 7 18.00 126.00 | BANANA BNA ECU 2 37.00 34.00
RASPBERRY A USA 4 20.00 80.00 | MESCLUN SALAD MESC USA 12 7.00 84.00
BLUEBERRY A USA 5 17.00 85.00 | EGG EX/LOOSE EXLOO USA 6 34.50 207.00
BLACKBERRY A USA 2 11.00 22.00] SCALLION KING USA 3 20.00 60.00
AVOCADO HASS Cc USA 10 38.00 380.00
PAPAYA RED RIPE RIPE MEX 1 34.00 34.00
MANGO RIPE M/RIP MEX 10 6.00 60.00
TOMATO #1 5X6 USA 4 19.00 76.00
TOMATO PLUM Cc MEX 2 19.00 38.00
TOMATO CHERRY c USA 1 28.00 28.00
TOMATO GRAPE R USA 3 11.00 33.00
TOMATO GRAPE YE USA 1 26.00 26.00
ROMAINE CA-A USA 2 15.00 30.00
CABBAGE GR GR USA 1 14.00 14.00
CAULIFLOWER c USA 1 22.00 22.00
BROCCOLI CROWN CROW USA 3 13.00 39.00
RABE ANDY USA 1 35.00 35.00
ASPARAGUS LG USA 3 23.00 69.00
CELERY c USA 1 18.00 18.00
SPINACH BUSH USA 1, 27,00 27.00
SPINACH BABY BA/SP USA 11 6.50 71.50
GREEN LEAF GR USA 1 17.00 17.00
STRINGBEAN BEAN USA 1 17.00 17.00
ENDIVES A USA 1 19.00 19.00
ALFALFA CUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA 1 30.00 30.00
RADISH HORSE HORS USA 1 L700 17.00
BASIL A USA 1 20.00 20.00
BABY ARRUGULA BA USA 7 12.50 87.50
CORN YCRT USA 1 24.00 24.00
BEETS 25LB LBAG CAN 1 10.00 10.00 Total Boxes: 158.0
PEPPER GREEN GR USA 2 14.00 28.00 Delivery $ : 205.40
PEPPER RED RED USA 2 27.00 54.00
YELLOW PEPPER YELL USA 2 15.00 30.00 Shipment : 3,073.40
CUCUMBER ait MEY 2 202.00 40.00) —— re — ——————EE——eeeeeeee
SQUASH GREEN GR USA 1 15.00 15.00
SQUASH YELLOW YEL MEX 1 18.00 18.00 Cash Receipt:
GARLIC JAR JBOX USA 1 58.00 BB. 00 | mm
GINGER 10LB 10LB CHN 1 19.00 19.00
MUSHROOM WASH 101LB USA 2 17.00 34.00 Signature
MUSH SPECIAL 10SP USA 4 18.00 72.00
Printed on Oct 12, 2020 tkkkee Balance : 175,892.60

commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
K&S Case 1:20-cv-08786-GHW Document 9-7_Phratr 10/38 7G8 Bage 23 FPG g 34 BIS

 

 

 

 

 

 

 

INVOICE

ShipTo: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 342087

#100 Broad st

NY, Ny 10004 Date 02/06/2020
Item Type Origin QTY Price Amount | Item Type Origin QTY Price _ Amount
RED EX FANCY 80 USA 1 33.00 33.00] PORTABELLA MUS M PO2 USA 1 9.50 9.50
GALA APPLE 80 USA 1 38.00 38.00 | POTATO IDAHO 90 USA 2 24.00 48.00
STAR RUBY e USA 1 27.00 27.00| POTATO RED A BOX BOX AUSA 1 28.00 28.00
POMEGRANATEs 8CHI USA 2 21.00 A2.00| CARROT LOOSE LOOSE USA 2 23.00 46.00
SEEDLESS RED RED USA 1 35.00 35.00 | ONION SPANISH SPI USA 2 16.00 32.00
KIWI LOOSE LLOO USA 1 26.00 26.00] ONION RED RD-J USA 2 12,00 24.00
WATERMELON SEED USA 1 38.00 38.00 | PINE GOLDEN GOL USA 3 23.00 69.00
JUICE ORANGE 100 USA 2 20.00 40.00 | BANANA BNA ECU 2 17.00 34.00
SUNKIST ORANGE 56 USA 2 28.00 56.00 | PLANTAIN YELLOW Cc ECU 1 24.00 24.00
LEMON SK SK/L USA 1 30.00 30.00 | MESCLUN SALAD MESC USA 12 7.00 84.00
STRAWBERRY CAL USA 7 18.00 126.00| EGG EX/LOOSE EXLOO USA 7 34.50 241.50
RASPBERRY A USA 5 23.00 115.00] EGG BROWN/CT BR/CT USA 1 43.00 43.00
BLUEBERRY A USA 7 28.00 196.00] SCALLION KING USA 2 20.00 40.00
AVOCADO HASS Cc USA 6 38.00 228.00
AVOCADO HASS# RIPE MEX 2 41.00 82.00
MANGO RIPE M/RIP MEX 10 5.00 50.00
TOMATO #1 5x6 USA 2 19.00 38.00
TOMATO PLUM Cc MEX 1 20.00 20.00
TOMATO GRAPE R USA 2 11.00 22.00
TOMATO GRAPE YE USA 1 25.00 25.00
LETTUCE . ICEBERG A USA 1 16.00 16.00
ROMAINE CA-A USA 3 15.00 45.00
CAULIFLOWER c USA 1 21.00 21.00
FLOWER ORCHID 100 USA 2 25.00 50.00
BROCCOLI CROWN CROW USA 4 12.00 48.00
RABE ANDY USA 1 40.00 40.00
ASPARAGUS LG USA 4 23.00 92.00
CELERY c USA 1 18.00 18.00
SPINACH BABY BA/SP USA 14 6.50 91.00
GREEN KALE KALE USA 2 16.00 32.00
ALFALFA CUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA 2 29.00 58.00
SHALLOT JAR/5LB su#5 USA 1 11.00 11.00
RADISH CEL USA 1 16.00 16.00
RADICCIO.. RD/CO USA 1 14.00 14.00
BABY ARRUGULA BA USA 5 12.00 60.00
PARSNIP BAG USA 1 20.00 20.00
CILANTRO c USA 4 27.00 17.00 Total Boxes: 159.0
PEPPER GREEN GR USA 2 14.00 28.00| Delivery $ : 206.70
PEPPER RED RED USA 2 29.00 58.00
YELLOW PEPPER YELL USA 2 16.00 32.00 Shipment : 3,252.70
JALAPINO JALPN HOL 1 17.00 L700 | mamma EE EE
CUCUMBER CUM MEX 2 20.00 40.00
SQUASH GREEN GR USA 1 19.00 19.00| Cash Receipt:
WATERCRESS B&W MEX 1 19.00 LD OO | mm
GARLIC JAR JBOX USA 1 60.00 60.00
MUSHROOM WASH 10LB USA 4 17.00 68.00 Signature
MUSH SPECIAL 10SP USA 3 18.00 54.00
Printed on Oct 12, 2020 xkk##* Balance : 178,966.00

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural

commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other

products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S Case 1:20-cv-08786-GHW Document 9-7 Plited:10/20OP28Bage 24 bpg0 347)438-1053

 

 

 

 

 

 

 

 

INVOICE
ShipTo: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 342159
#100 Broad st
NY, NY 10004 Date 02/07/2020
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
POMEGRANATES 8CHI USA 2 21.00 42.00 | SCALLION KING USA 2 22.00 44.00
WATERMELON SEED USA 1 38.00 38.00
CANTALOUP Cc USA 1 12.00 12.00
HONEY DEW Cc USA 1 12.00 12.00
JUICE ORANGE 100 USA 2 20.00 40.00
SUNKIST ORANGE 56 USA 2 28.00 56.00
STRAWBERRY CAL USA 2 241.00 42.00
RASPBERRY A USA 1 23.00 23.00
BLACKBERRY A USA 1. 12.00 12.00
AVOCADO HASS# RIPE MEX 4 41.00 164.00
PAPAYA RED RIPE RIPE MEX 1 34.00 34.00
MANGO RIPE M/RIP MEX 8 4.50 36.00
TOMATO #1 5X6 USA 3 20.00 60.00
TOMATO PLUM Cc MEX 1 19.00 19.00
TOMATO CHERRY ig USA 0 0.00 0.00
TOMATO GRAPE R USA 2 13.00 26.00
ROMAINE CA-A USA 3 17.00 51.00
FLOWER ORCHID 100 USA 1 25.00 25.00
BROCCOLI CROWN CROW USA 3 11.00 33.00
RABE ANDY USA 1 40.00 40.00
ASPARAGUS LG USA 3 22.00 66.00
SPINACH BABY BA/SP USA 7 6.50 45.50
GREEN LEAF GR USA 1 16.00 16.00
STRINGBEAN BEAN USA 1 16.00 16.00
SNOWPEA A USA 1 20.00 20.00
BRUSSEL SP LOOSE USA 1 29.00 29.00
BABY ARRUGULA BA USA 5 11.50 57.50
PARSLEY PLAIN FULL USA 1 24.00 24.00
PEPPER RED RED USA 2 32.00 64.00
YELLOW PEPPER YELL USA 2 15.00 30.00
CUCUMBER CUM MEX 1 22.00 22.00
SQUASH YELLOW YEL MEX 1 18.00 18.00
SHANGHAI BOKCHOY SH/BK USA 1 22.00 22.00
GINGER 10LB 10LB CHN 1 19.00 19.00
MUSHROOM WASH 10LB USA 1 17;00 17.00 Credit ‘ -11.70
MUSH SPECIAL 10SP USA 2 18.00 36.00
PORTABELLA MUS M PO2 USA - 9.50 9.50
POTATO IDAHO 90 USA 1 24.00 24.00 Total Boxes: 105.0
CARROT LOOSE LOOSE USA 1 23.00 23.00 Delivery $ : 136.50
ONION SPANISH SPI USA 2 16.00 32.00
ONION RED RD-J USA 2 312.00 24.00 Shipment : 2,034.70
PINE GOLDEN GOL USA 2 21.00 43.00)|| S655 o eee ese e ese sma eS
BANANA BNA ECU 1 17.00 17.00
BANANA Y.G Y+G ECU 1 17.00 17.00 Cash Receipt:
CIDER 1/2G USA 1 27.00 BE NN | ee a a me a en
MESCLUN SALAD MESC USA 12 7.00 84.00
EGG EX/LOOSE EXLOO USA 8 34.50 276.00] Signature
MONEY PICK UP $$$ 0 0.00 0.00
Printed on Oct 12, 2020 kkekk* Balance : 182,218.70

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
Case_1:20-cv-08786-GHW Document 9-7 Filed 10/26/20 Page 25 6680 g2/142020

K&S
22-19 160 Street
Whitestone, NY 11357

 

Telephone : 718)767-2808 Fax: 347)438-1053
Ship To: #1TEB 100 BROAD STREET LLC (ESSEN) From : To:
#100 Broad st
NY, NY 10004 02/09/2020 02/14/2020

212) 943-0100

 

 

 

 

 

Shipped Amont Payment

02/09 Sunday 0.00 0.00
02/10 Monday 3515.40 0.00
02/11 Tuesday 2968.10 0.00
02/12 Wednesday 3018.50 16134.80
02/13 Thursday 3919.20 0.00
02/14 Friday 3040.70 0.00

Shipped Total 16461.90 Paid Total 16134.80

Delivery Charge 0.00 Credit Memo

Credit 0.00
Soe Date +/- Qty Item Price Amount
Sub-Total (+) 16,461.90 = = = 9 ----------------------~-------~-------------
Prev.Balance(+) 184,253.40 No credit has been recorded
Payment 16,134.80

Current Balance 184,580.50

 

 

 

 

 

 

 

 

 

 

 

 

 

 

AR Aging Report Current Balance 184,580.50
Ist Week 16,461.90 Received Amount (-)
2nd Week 0.00 This Week Balance
3rd Week & Over 168,118.60 Received By
Paid By

 

 

 

 

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.

All interest, costs, attorney's fees due seller shall be considered sums owing in connection with this transaction uner the PACA trust.
K&S Case 1:20-cv-08786-GHW Document 9-7 FiethdO/#Ae Rage 26 Of,30. 347y438-1053

 

 

 

 

 

 

 

INVOICE

ShipTo: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 342244

#100 Broad st

NY, NY 10004 Date 02/10/2020
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 1 30.00 30.00]| BeGPLANT c USA 1 16.00 16.00
STAR RUBY Cc USA 1 27.00 27.00] POTATO IDAHO 90 USA 3 25.00 75.00
POMEGRANATES 8CHI USA 2 21.00 42.00] POTATO RED A BOX BOX A USA 1 28.00 28.00
SEEDLESS GREEN GR USA 1 34.00 34.00] CARROT LOOSE LOOSE USA 1 23.00 23.00
SEEDLESS RED RED USA 1 36.00 36.00] CARROT HNDPLD BABY HNBA USA 4 10.00 40.00
KIWI LOOSE LLOO USA 1 26.00 26.00] ONION SPANISH SPI USA 2 16.00 32.00
HONEY DEW c USA 1 11.00 11.00] ONION RED RD-J USA 1 12.00 £12.00
JUICE ORANGE 100 USA 2 20.00 40.00] ToFU s USA 1 14.00 14.00
SUNKIST ORANGE 56 USA 2 28.00 56.00] PINE GOLDEN GOL USA 4 20.00 80.00
STRAWBERRY CAL USA 10 23.00 230.00] BANANA BNA ECU 3 17.00 £51.00
RASPBERRY A USA 7 23.00 161.00] RUSKUS LEAF RU/LF USA 6 10.00 60.00
BLUEBERRY A USA 7 29.00 203.00] MESCLUN SALAD MESC USA 6 7.00 £42.00
BLACKBERRY A USA 3 15.00 £45.00] CELERY CHOP BOX USA 1 34.00 £34.00
PAPAYA RED RIPE RIPE MEX 1 34.00 34.00] EGG EX/LOOSE EXLOO USA 8 35.00 280.00
MANGO RIPE M/RIP MEX 15 4.50 £67.50] YUKON A BOX Y ABO USA 1 32.00 32.00
TOMATO #1 5X6 USA 3 23.00 £69.00] MONEY PICK UP $$$ 0 860.00 0.00
TOMATO PLUM c MEX 2 25.00 £50.00] SCALLION KING USA 3 22.00 66.00
TOMATO CHERRY cS USA 2 30.00 # £60.00
TOMATO GRAPE R USA 1 16.00 16.00
TOMATILLO ORG MEX 1 12.00 £12.00
LETTUCE . ICEBERG A USA 1 16.00 16.00
ROMAINE CA-A USA 4 15.00 60.00
CABBAGE GR GR USA 1 13.00 £13.00
CAULIFLOWER c USA 2 21.00 42.00
BROCCOLI CROWN CROW USA 4 13.00 £52.00
RABE ANDY USA 2 40.00 80.00
ASPARAGUS LG USA 4 22.00 88.00
CELERY c USA 1 18.00 18.00
SPINACH BUSH USA 1 26.00 26.00
SPINACH BABY BA/SP USA 6 6.50 39.00
GREEN KALE KALE USA 4 16.00 64.00
ALFALFA CUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA 2 24.00 48.00
SHALLOT JAR/5LB SJ#5 USA 1 11.00 £11.00
BASIL A USA 1 19.00 19.00
BABY ARRUGULA BA USA 5 11.00 55.00
PARSLEY PLAIN FULL USA 1 24.00 £24.00
CILANTRO c USA 2 17.00 34.00] Total Boxes: 173.0
PEPPER GREEN GR USA 2 19.00 38.00] Delivery $ : 224.90
PEPPER RED RED USA 2 28.00 £56.00
YELLOW PEPPER YELL USA 2 16.00 32.00| Shipment : 3,515.40
CUCUMBER CUM MEX 2 28.00 56.00 | qe rere reser ssccco-
SQUASH GREEN GR USA 1 27.00 27.00
SQUASH YELLOW YEL MEX 1 26.00 26.00 Cash Receipt:
GARLIC JAR JBOX USA 1 62.00 62.00) — HSS SSS Sa SSeS SSS eee eee eee
MUSHROOM WASH 10LB USA 4 17.00 £68.00
MUSH SPECIAL 10SP USA 4 18.00 72.00] Signature
YAM #1 YAM USA 1 18.00 18.00
Printed on Oct 12, 2020 *eeeee* Balance : 184,253.40

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S

Case 1:20-cv-08786-GHW Document 9-7 FilkxatcO/AG\20r-2B0age 27 OF BO 347)438-1053
INVOICE

 

 

 

 

 

 

Ship To: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 342285
#100 Broad st
NY, NY 10004 Date 02/11/2020
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 2 31200 62.00 | MUSH SPECIAL 10SP USA 3 18.00 54.00
GALA APPLE 80 USA 1 38.00 38.00 | PORTABELLA MUS M PO2 USA 5 9.50 47.50
STAR RUBY c USA 1 28.00 28.00 | POTATO IDAHO 90 USA 4 24.00 96.00
POMEGRANATES 8CHI USA 2 22.00 44.00 | CARROT LOOSE LOOSE USA 1 23.00 23.00
SEEDLESS RED RED USA 1 35.00 35.00 | ONION SPANISH SPI USA 2 16.00 32.00
KIWI LOOSE LLOO USA 1 26.00 26.00] ONION RED RD-J USA 2 11.00 22.00
CANTALOUP c USA 1 10.00 10.00 | PINE GOLDEN GOL USA 3 20.00 60.00
HONEY DEW G USA 1 11.00 11.00 | BANANA BNA ECU 2 17.00 34.00
JUICE ORANGE 100 USA 2 20.00 40.00] YUCA DOM EUC 1 25.00 25.00
SUNKIST ORANGE 56 USA 2 28.00 56.00 | MESCLUN SALAD MESC USA 20 7.00 140.00
LEMON SK SK/L USA 1 30.00 30.00 | EGG EX/LOOSE EXLOO USA 5 35.00 175.00
STRAWBERRY CAL USA 9 21.00 189.00] MONEY PICK UP $$s 0) 860..00 0.00
RASPBERRY A USA 4 27.00 108.00] SCALLION KING USA 2 19.00 38.00
BLUEBERRY A USA 2 27.00 54.00] SQUASH BUTTERNUT BUIN USA 1 26.00 26.00
BLACKBERRY A USA 3 14.00 42.00
PAPAYA RED RIPE RIPE MEX 1 34.00 34.00
MANGO RIPE M/RIP MEX 15 4.50 67.50
LIME 48 MEX 1 8.00 8.00
TOMATO #1 5X6 USA 2 24.00 48.00
TOMATO PLUM c MEX 2 26.00 52.00
TOMATO CHERRY Cc USA 1 28.00 28.00
TOMATO GRAPE R USA 3 16.00 48.00
TOMATO GRAPE YE USA 1 25.00 25.00
LETTUCE . ICEBERG A USA 1 16.00 16.00
ROMAINE CA-A USA 2 15.00 30.00
CAULIFLOWER c USA 2 21.00 42.00
BROCCOLI CROWN CROW USA 3 13.00 39.00
ASPARAGUS LG USA 3 23.00 69.00
CELERY Cc USA 1 18.00 18.00
SPINACH BUSH USA 1 26.00 26.00
SPINACH BABY BA/SP USA 14 6.50 91.00
GREEN KALE KALE USA 2 16.00 32.00
STRINGBEAN BEAN USA 1 24.00 24.00
SUGAR SNAPEA SNAP PER 1 16.00 16.00
BRUSSEL SP LOOSE USA 1 22.00 22.00
RADICCIO.. RD/CO USA 1 14.00 14.00
BASIL A USA 1 20.00 20.00
BABY ARRUGULA BA USA 8 60 88.00 Total Boxes: 167.0
CILANTRO G USA 1 17.00 17.00] Delivery $ 217.10
BEETS 25LB LBAG CAN 2 10.00 20.00
PEPPER GREEN GR USA 1 20.00 20.00 Shipment 2,968.10
PEPPER RED RED USA 2 30.00 60,00 | SSeS eS SS ee ey
YELLOW PEPPER YELL USA 1 20.00 20.00
JALAPINO JALPN HOL 1 17.00 17.00 Cash Receipt:
CUCUMBER CUM MEX 1 29.00 29),.00) || setae eee es re ee ie
SQUASH GREEN GR USA 2 27.00 54.00
GARLIC JAR JBOX USA 1 60.00 60.00 Signature
MUSHROOM WASH 10LB USA 3 17.00 51.00
Printed on Oct 12, 2020 **eee* Balance : 187,768.80

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 3(c) of the perishable agricultural

commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S

ShipTo: # 1TEB

Case 1:20-cv-08786-GHW Document 9-7 Fitlede20fa6y20-28age 28 OF 30 347)438-1053
INVOICE

 

 

 

 

 

 

100 BROAD STREET LLC (ESSEN) Invoice No. 342359
#100 Broad st
NY, NY 10004 Date 02/12/2020
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
RED EX FANCY 80 USA 1 32.00 32.00] CARROT LOOSE LOOSE USA 2 23.00 46.00
GRANNY SMITH 80 USA 2 31.00 62.00 | ONION SPANISH SPI USA 2 16.00 32.00
STAR RUBY c USA 1 28.00 28.00 | ONION RED RD-J USA 2 11.00 22.00
POMEGRANATES 8CHI USA 0 0.00 0.00] PINE GOLDEN GOL USA 4 20.00 80.00
SEEDLESS GREEN GR USA 1 35.00 35.00 | BANANA BNA ECU 2 17.00 34.00
WATERMELON SEED USA 1 40.00 40.00 | PLANTAIN YELLOW a ECU 1 24,00 24.00
SUNKIST ORANGE 56 USA 2 28.00 56.00 | MESCLUN SALAD MESC USA 18 7.00 126.00
LEMON SK SK/L USA 1 30.00 30.00] EGG EX/LOOSE EXLOO USA 6 35.00 210.00
STRAWBERRY CAL USA 4 18.00 £172.00) MONEY PICK UP $$$ 0 0.00 0.00
RASPBERRY A USA 3 31.00 93.00 | SCALLION KING USA 3 19.00 57.00
BLUEBERRY A USA 1 26.00 26.00
AVOCADO HASS C USA 10 41.00 410.00
MANGO RIPE M/RIP MEX 10 4.50 45.00
TOMATO #1 5X6 USA 2 26.00 52.00
TOMATO PLUM c MEX 2 25.00 50.00
TOMATO CHERRY Cc USA 1 28.00 28.00
TOMATO GRAPE R USA 1 17.00 17.00
ROMAINE CA-A USA 4 15.00 60.00
CABBAGE GR GR USA 1 13.00 13.00
CAULIFLOWER Cc USA 2 21.00 42.00
FLOWER ORCHID 100 USA 2 25.00 50.00
BROCCOLI CROWN CROW USA 4 13.00 52.00
ASPARAGUS LG USA 2 23.00 46.00
CELERY Cc USA 1. 217.00 L700
SPINACH BUSH USA 1 25.00 25.00
SPINACH BABY BA/SP USA 14 6.50 91.00
GREEN LEAF GR USA 1 15.00 15.00
GREEN COLLARD COALD USA i 25:00 15.00
GREEN KALE KALE USA 4 16.00 64.00
STRINGBEAN BEAN USA 1 21.00 21.00
ALFALFA CUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA 2 22.00 44.00
SHALLOT JAR/5LB so#5 USA 1 11.00 11.00
MINT A USA 1 15.00 15.00
BABY ARRUGULA BA USA 5 11:00 55.00
PARSLEY PLAIN FULL USA 1 24.00 24.00
BEETS 25LB LBAG CAN 1 10.00 10.00
PEPPER GREEN GR USA 1 21.00 21.00 Total Boxes: 155: 0
PEPPER RED RED USA 4 20.00 80.00 Delivery $ 201.50
YELLOW PEPPER YELL USA 2 21.00 42.00
CUCUMBER CUM MEX 2 29.00 58.00 Shipment 3,018.50
SQUASH YELLOW YEL MEX 1 23.00 22000 | =Se esses eee eee ee
SHANGHAI BOKCHOY SH/BK USA 1 22.00 22.00
MUSHROOM WASH 10LB USA 2 17.00 34.00 Cash Receipt:
MUSH SPECIAL 10SP USA 2 18.00 36,00 | Sseeee eee ee eee
PORTABELLA MUS M PO2 USA 9.50 38.00
EGGPLANT ITALIAN ITAL USA 1 26.00 26.00 Signature
POTATO IDAHO 90 USA 2 24.00 48.00
Printed on Oct 12, 2020 kkkekk Balance : 190,736.90

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural

commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S

Case 1:20-cv-08786-GHW Document 9-7 FilemlelO/AG/207-2Rage 29 OFZO 347)438-1053
INVOICE

 

 

 

 

 

 

ShipTo: # I1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 342414
#100 Broad st
NY, NY 10004 Date 02/13/2020
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
RED EX FANCY 80 USA 1 30.00 30.00 | MUSH SPECIAL 10SP USA 4 18.00 72.00
ANJOU PEAR 80 USA 1 40.00 40.00 | PORTABELLA MUS M PO2 USA 3 9.50 28.50
POMEGRANATES 8CHI USA 2 24.00 48.00 | EGGPLANT Cc USA 1 20.00 20.00
WATERMELON SEED USA 1 40.00 40.00} POTATO IDAHO 90 USA 4 24.00 96.00
CANTALOUP c USA Z 10..00 10.00} POTATO RED A BOX BOX A USA 1 28.00 28.00
HONEY DEW Cc USA 1 11.00 11.00 | CARROT LOOSE LOOSE USA 2 23.00 46.00
JUICE ORANGE 100 USA 2 20.00 40.00] ONION SPANISH SPI USA 2 16.00 32.00
SUNKIST ORANGE 56 USA 3 27.00 81.00] ONION RED RD-J USA 2 11.00 22.00
LEMON SK SK/L USA 1 29.00 29.00 | TOFU Ss USA 1 14.00 14.00
STRAWBERRY CAL USA 9 13.00 117.00] PINE GOLDEN GOL USA 4 20.00 80.00
RASPBERRY A USA 6 33.00 198.00 | BANANA BNA ECU 3 17.00 51.00
BLUEBERRY A USA 3 26.00 78.00 | PLANTAIN YELLOW c ECU 1 24.00 24.00
BLACKBERRY A USA 2 12.00 24.00 | MESCLUN SALAD MESC USA 14 7.00 98.00
AVOCADO HASS Cc USA 8 41.00 328.00] EGG EX/LOOSE EXLOO USA 10 35.00 350.00
AVOCADO HASS# RIPE MEX 4 43.00 172.00] HERBS ROSEMARY ROSE CHL 2 7.50 15.00
PAPAYA RED RIPE RIPE MEX 1 33.00 33.00] YUKON A BOX Y ABO USA 1 32.00 32.00
MANGO RIPE M/RIP MEX 10 4.50 45.00} SCALLION KING USA 2 19.00 38.00
LIME 48 MEX A 7.00 7.00
TOMATO #1 5X6 USA 3 27.00 81.00
TOMATO PLUM Cc MEX 1 26.00 26.00
TOMATO CHERRY Cc USA 2 28.00 56.00
TOMATO GRAPE R USA 4 17.00 68.00
TOMATO GRAPE YE USA 1 21.00 21.00
LETTUCE . ICEBERG A USA 1 16.00 16.00
ROMAINE CA-A USA 4 15.00 60.00
CAULIFLOWER c USA 2 19.00 38.00
BROCCOLI CROWN CROW USA 3 13.00 39.00
RABE ANDY USA 2 40.00 80.00
ASPARAGUS LG USA 7 20.00 140.00
SPINACH BUSH USA 1 21.00 21.00
SPINACH BABY BA/SP USA 14 6.50 91.00
ANISE GC USA 1 24.00 24.00
GREEN KALE KALE USA 1 16.00 16.00
SNOWPEA A USA 1 14.00 14.00
ALFALFA CUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA 2 19.00 38.00
BABY ARRUGULA BA USA 6 10.50 63.00
CILANTRO c USA 2 17.00 34.00 Total Boxes: 189.0
BEETS 25LB LBAG CAN 1 10.00 10.00 Delivery $ 245.70
PEPPER GREEN GR USA 2 20.00 40.00
PEPPER RED RED USA 1 29.00 29.00 Shipment 3,919.20
YELLOW PEPPER VETE TSR 2 BT A BG) | wwe mn mmncnenitmmeeniennmninman mmseiernninanieniimnumiantn timate ata
JALAPINO JALPN HOL 1 17.00 17.00
CUCUMBER CUM MEX 2 27.00 54.00) Cash Receipt:
SQUASH GREEN GR USA 1 26.00 26.00 | mmr r rrr  nn n nnnnn nnn nnenn
GARLIC JAR JBOX USA 1 56.00 56.00
GINGER 10LB 10LB CHN 1 16.00 16.00 Signature
MUSHROOM WASH 10LB USA 4 17.00 68.00
Printed on Oct 12, 2029 keekke Balance : 177,620.60

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural

commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S Case 1:20-cv-08786-GHW_ Document 9-7 Phe 16/38/6628 Bage 30 GP80 347/438-1053

 

 

 

 

 

 

 

INVOICE

Ship To: # I1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 342485

#100 Broad st

Ny, NY 10004 Date 02/14/2020
Item Type Origin QTY Price | Amount | Item Type Origin QTY Price | Amount
GRANNY SMITH 80 USA 1 31.00 31.00] CARROT LOOSE LOOSE USA 1 23.00 23.00
STAR RUBY Cc USA 1 28.00 28.00 | ONION SPANISH SPI USA 1 16.00 16.00
POMEGRANATES 8CHI USA 2 23.00 46.00 | ONION RED RD-J USA i. 21.00 11.00
SEEDLESS GREEN GR USA 1 35:00 35.00] PINE GOLDEN GOL USA 5 19.00 95.00
SEEDLESS RED RED USA 1 35.00 35.00 | BANANA BNA ECU 2 17,00 34.00
KIWI LOOSE LLOO USA 1 26.00 26.00 | BANANA GREEN GR ECU 1 17.00 17.00
WATERMELON SEED USA 1 40.00 40.00] BANANA Y.G Y¥+G ECU 1 17.00 17.00
CANTALOUP c USA 1 10.00 10.00 | MESCLUN SALAD MESC USA 10 7.00 70.00
HONEY DEW c USA 1 11.00 11.00 | CELERY CHOP BOX USA 1 34.00 34.00
JUICE ORANGE 100 USA 1 20.00 20.00 | EGG EX/LOOSE EXLOO USA 5 35.00 175.00
SUNKIST ORANGE 56 USA 2 27.00 54.00 | MONEY PICK UP $ss$ 0 0.00 0.00
STRAWBERRY CAL USA 9 14.00 126.00] SCALLION KING USA 2 19.00 38.00
RASPBERRY A USA 4 34.00 136.00
BLUEBERRY A USA 4 26.00 104.00
BLACKBERRY A USA 4 12.00 48.00
AVOCADO HASS c USA 8 43.00 344.00
AVOCADO HASS# RIPE MEX 4 43.00 172.00
MANGO RIPE M/RIP MEX 8 4.50 36.00
TOMATO #1 5X6 USA 4 28.00 112.00
TOMATO PLUM Cc MEX 1 28.00 28.00
ROMAINE CA-A USA 2 16.00 32.00
CABBAGE GR GR USA 1 13.00 13.00
FLOWER ORCHID 100 USA 2 25.00 50.00
BROCCOLI CROWN CROW USA 3 12.00 36.00
RABE ANDY USA 1 40.00 40.00
ASPARAGUS LG USA 2 23.00 46.00
CELERY Cc USA 1 17.00 17.00
SPINACH BUSH USA tT 22.00 22.00
SPINACH BABY BA/SP USA 6 6.50 39.00
STRINGBEAN BEAN USA 1 20.00 20.00
ALFALFA CUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA 1. 20.00 20.00
SHALLOT JAR/5LB SsJ#5 USA 1 22600 11.00
RADICCIO.. RD/CO USA 1 14.00 14.00
BABY ARRUGULA BA USA 8 10.50 84.00
PEPPER GREEN GR USA 1 18.00 18.00
PEPPER RED RED USA 2 30.00 60.00
YELLOW PEPPER YELL USA 1 19.00 19.00 Total Boxes: 139.0
JALAPINO JALPN HOL 1, 27.00 17.00 Delivery $ : 180.70
CUCUMBER CUM MEX 2 28.00 56.00
SQUASH YELLOW YEL MEX 1 19.00 19.00 Shipment : 3,040.70
GARLIC JAR JBOX USA 1 56.00 56.00 | SSS e hese eS Sse SSS
GINGER 10LB 10LB CHN 1 16.00 16.00
MUSHROOM WASH 10LB USA 1 217.00 17.00 Cash Receipt:
MUSH SPECIAL 10SP USA 3 18.00 54.00 | sess
EGGPLANT ITALIAN ITAL USA 0 0.00 0.00
POTATO IDAHO 90 USA 3 24.00 72.00 Signature
POTATO RED A BOX BOX A USA 1 28.00 28.00
Printed on Oct 12, 2020 ****** Balance : 181,539.80

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